                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )
                                               )        3:12 CR 00159
CHAD EDWARD WARRICK,                           )        Judge Marvin E. Aspen
ANGELA CAMARDA, and                            )
CYNTHIA FAYE HEINZ,                            )
                                               )
               Defendants.                     )

                                              ORDER

       As indicated in the reassignment order dated March 12, 2014, I have accepted

reassignment of this case for retrial. A final pretrial conference will be held on Monday,

April 28, 2014 at 9:30 a.m. Trial shall begin on April 29, 2014 at 9:00 a.m. as scheduled.

       The deadline for the consummation of any plea agreement remains April 7, 2014, per

Judge Campbell’s October 24, 2013 scheduling order.

       In preparation for trial, the parties shall submit certain pretrial materials on or before

April 8, 2014. By that date, the parties shall submit proposed voir dire questions, proposed jury

instructions, and a joint statement of the nature of the case (not to exceed one page) to be read to

the prospective jurors by the Court at voir dire. If the parties cannot agree on the joint statement,

separate statements may be filed and served by April 8, 2014. Written grounds for objections to

any voir dire questions and/or jury instructions shall be filed and served on or before

April 17, 2014.

       In addition, the parties shall file exhibit and witness lists, identifying all evidence they

intend to introduce, on April 8, 2014. The parties at that time shall file any stipulations of fact

and stipulations regarding the admissibility of potential exhibits or witness testimony. The



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parties shall also indicate the anticipated length of the trial and the preferred number of alternate

jurors.

          Motions in limine shall be filed on or by April 8, 2014, with responses due

April 15, 2014. On April 22, 2014, the parties shall file a joint proposed verdict form. If the

parties cannot agree on a joint verdict form, separate forms shall be filed and served on or before

April 22, 2014.

          All of the above filings should be filed electronically via CM/ECF. On the date of these

filings, the parties shall also fax a copy thereof to the Court’s chambers (312-554-8515). In the

unlikely event that the filings would generate a fax exceeding 40 pages in length, the parties shall

simply fax a notice to chambers indicating that the filings were submitted via CM/ECF as

instructed.


                                                       SO ORDERED:



                                                       Marvin E. Aspen
                                                       United States District Judge



Dated:           Chicago, Illinois
                 March 18, 2014




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